        Case 3:17-cv-01814-RDM Document 93 Filed 07/13/21 Page 1 of 3




               THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 Commonwealth of Pennsylvania,              )
 Attorneyy
 By Attorney General Josh Shapiro          )))
                                            )    Case No. 3:17-cv-01814-RDM
                          Plaintiff,        )    (Hon. Robert D. Mariani)
                                            )
           v.    v.                         )    DEFENDANTS’ NOTICE OF
                                            )    SUPPLEMENTAL AUTHORITY
 Navient Corporation, et al.,               )
                                            )    Electronically Filed
                          Defendants.       )


       DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

      Yesterday, in a nearly identical case by the Attorney General of Illinois

against Navient, the court reconsidered its 2018 denial of Navient’s motion to

dismiss, citing Pennsylvania v. Navient Corp., 967 F.3d 273 (3d Cir. 2020) and a

Seventh Circuit decision, both of which “remanded for an allegation-by-allegation

examination” regarding preemption under 20 U.S.C. § 1098g. Ex. A at 17. The

court conducted that examination, and dismissed Illinois’s claim that Navient

violated state law by “‘failing to disclose’ options beside forbearance” in phone

calls with borrowers. Id. at 19. That is equivalent to dismissing ¶177(b) of the

State’s complaint here.
      Case 3:17-cv-01814-RDM Document 93 Filed 07/13/21 Page 2 of 3




Dated: July 13, 2021                     Respectfully submitted,
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                                        Navient Solutions, LLC




                                    2
        Case 3:17-cv-01814-RDM Document 93 Filed 07/13/21 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I, Daniel T. Brier, hereby certify that, on July 13, 2021, I filed the foregoing

Notice of Supplemental Authority via the CM/ECF system, which will send

notification of such filing to all counsel of record who are deemed to have

consented to electronic service.


                                              /s/ Daniel T. Brier
                                              Daniel T. Brier
